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           Design of multilayer polarizing beam splitters using

                                                genetic algorithm

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                    Received 30 August 2003; received in revised form 6 January 2004; accepted 9 January 2004



Abstract

   Polarizing beam splitters (PBSs) are key elements of optics and optical communication systems. In this paper, cubic
and plate multilayer PBSs have been designed using genetic algorithm (GA) method which is a powerful optimization
tool. In this work, after an introduction to genetic algorithm, a plate PBS has been designed using this method to show
the ability of GA technique to design polarizing beam splitters with predefined target. Then, a GA-designed cubic PBS
has been compared with a MacNeille one on the spectral characteristics and index profile. Finally, a C-band cubic PBS
has been designed with GA and the results have been compared with ones obtained from needle, flip-flop and combined
GA and gradient design methods with similar design parameters. The results show that the genetic algorithm method
has the ability to design the thin film polarizing beam splitters and in comparison to other techniques has reasonable
results when the time is not a critical parameter in the design process.
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Keywords: Polarizing beam splitter; Thin film filters; Genetic algorithm




1. Introduction                                                        tion ratio, reflectance or transmittance of desired
                                                                       polarization and angular field are main cliarac-
   Polarizing beam splitters (PBSs) are optical fil-                   teristics of a PBS. Multilayer polarizing beam
ters that separate two orthogonal polarization                         splitters are a kind of polarization separators that
components (S and P) of light into different di-                       are based on optical interference thin films, Plate
rections, In these filters the S and P polarizations                   and cube are the main two configurations of thin
have equal importance. Wavelength band, extinc-                        film PBSs. In the plate type, the layers are depos-
                                                                       ited on a plane substrate while in the cubic form,
                                                                       the layers are deposited on the hypotenuse of two
                                                                       prisms and then these prisms arc cemented to-
  " Corresponding author. Tel.: +985118615100; fax:
+985118629541,                                                         gether with an optical adhesive to produce a cube
    E-mail address: saremi@wali.um.ac.ir (M. Shokooh-Sa-               [1], Fig. I shows a schematic view of a cubic PBS.
remi).                                                                 There are good reviews on thin film PBSs in [2-4],

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doi; 10.1016/j, op teora .2004,01.008
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                                                                     In an optimization problem, GA modifies the
                                                                 initial design parameters in a way that a better
                                                                 filter would be obtained through steps. In a design
                                                                 problem, this algorithm produces a set of initial
                                                                 designs named initial generation. Then, the genetic
        Input
                                                                 operators arc applied to produce new generations
                                                                 with better specifications. Using this procedure, a
                                                                 suitable filter is finally obtained.
                                                                     The basic block that GA works with is called
                                                                 "chromosome". In a TFF design problem, each
          Fig, 1. Schematic view of a cubic PBS.                 chromosome is equivalent to a filter. A chromo-
                                                                 some consists of "genes" that represent the re-
PBS is a main component in coherent optical                      fractive indices and thicknesses of the layers of a
communication systems based on the polarization                  TFF. A "generation" is a set of chromosomes
diversity, optical instruments and other optical                 (filters) with various layers and jVp0(, is the number
elements such as add/drop multiplexers, tunable                  of filters in each generation. The numerical quality
acousto-optical filters and optical switching [4—10],            measure of a PBS filter is its "fitness function"
   There are reports on the design of thin film po-              which we have chosen as
larizing beam splitters using different techniques
[4,11,12], From a general point of view, the design of                           1
                                                                 F-                                                   (i)
a multilayer thin film filter (TFF) with an arbitrary                 n^s-ii + i/jp
spectral profile, is an optimization problem. Genetic
algorithm (GA) is a powerful and attractive opti-                where is the wavelength of the /th sample and
mization tool and has been applied to several elec-              and        are the reflectances for the S and P polar-
tromagnetic problems, including the multilayer                   izations. Referring to Fq, (1), F would increase as
optical filters since 1992 [13-20], This method has an           R% and R? approach 1 and 0, respectively. A filter
evolutionary nature and roots in genetic relations.              will be "stronger" if its F is greater.
We have used GA to design multilayer PBSs. In this                   The gene-based structure of chromosomes is
paper, first, genetic algorithm is described as a de-            shown in Fig, 2(a). Each chromosome (filter)
sign tool for multilayer filters. Then, thin film PBSs           consists of two gene strings, one string for refrac-
are designed using the GA and the results are pre-               tive index of layers and one for layers thicknesses
sented and discussed and comparisons with other                  and these strings are interrelated for each filter.
design techniques are given.                                     Here, refractive indices are selected from a prede-
                                                                 termined set such as {«(!), nfl),..., n{M)} and the
                                                                 genetic operations are performed on the indices
2. Genetic algorithm                                              1,2,instead of the refractive index values
                                                                 (indexed variable). Layer thicknesses are integer
   Several optimization techniques have been used                variables measured in Angstroms. The GA based
to design multilayer filters. From the optimization              design procedure can be summarized as follows;
point of view, these techniques can be categorized                   (1) Creation of the initial generation. In this step,
into two types. First, methods that require an                   jV1x>p filters with layer numbers between 1 to Nmm.
initial design on which the optimization is per-                 the refractive indices of layers chosen from the
formed to obtain the desired specifications. Sec-                {«(!), nfl),...,«(iVf)} set and layer thicknesses hi
ond, methods that start with a random design and                 the [r/miii^max] interval are created randomly. The
then apply an optimization procedure on it. Ge-                  values of N^, n(I) to n{M), dmj[1 and                 are
netic algorithm is a suitable and attractive tool for            defined by user.
optimization and can be utilized as a design or                      (2) Calculation of the fitness function (F) for
optimization method to the thin film filters.                    each filter. The fitness function is calculated for
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                                                                            thickness gene


                                                            11     tj        . • •           tk
                                                                   A                         A
                  Filter (Chrornosorne)
                                                            n i n2           • ■ •           nk

                                                             f
                  (a)                  Refractive index gene '


                                                              n
                                                 r-              z "3 nj n, "6                    ll2' m" "4
                                           h
                                                 L-           Is h *4 t5 Ify                  tr h'       w



                                                                                             Cross-over
                                                                                     I

                                                 r"     n                                             "3 nq "5*
                                                         i 112          it "5 IT,
                                           fic                                                                          fic
                                                                    1
                  (b)                                   U     h h tq' t5 Ifi                  v                t5' -J

                                  11                                                                                T
                                    1 "2              nq H5                 Mutation               nr nj* nj' nq' ns (V
                                                                                   ►
                                  t|   tv h U ts h                                                  "tT T7 U U ts k
                  to)
                Fig, 2. (a) Chromosome (filler) structure of GA, (b) cross-over operator (c) mulation operator.


eacli filter using Eq. (1) and relations for thin film                           (3.1) Applying the selection (S) operator. The
filter analysis [1], Then, the filters are sorted ac-                        selection operator consists of the natural selection
cording to their fitness function values (the stron-                         and reproduction steps. In the natural selection
gest filter is at the top). Let    be a desired fitness                      step, the average of fitness functions is computed
function and Fs be the fitness function of the                               (Fa). Then, filters with fitness functions greater or
strongest filter in the current generation. Thus, if                         equal to Fs are selected (Ah). After that, the re-
Fs F Fi, then the strongest filter is chosen as the                          maining filters ({Ap0p — Ni) filters) are chosen
desired filter and the operation is terminated.                              through reproduction in which filters are selected
Otherwise, procedure is transferred to step 3.                               randomly and proportional to their fitness func-
    (3) Applying the genetic operators. The genetic                          tion values. It means that the filters with higher
operators (selection, cross-over and mutation) are                           fitness function value have more chance to select
applied to the chromosomes according to the fol-                             than the ones with lower fitness function. Also it is
lowing steps. The number of chromosomes (filters)                            possible for weak filters to be selected according to
after applying each operator remains constant                                random nature of this reproduction. Reproduction
equal to         In these steps, Gk and Gt+I represent                       increases the density of strong filters in the selec-
the current and the new generations, respectively.                           tion stage. Thus we have
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Gs=S{&}.                                             (2)       medium and substrate are air (« = 1) and BK.7
    (3.2) Applying the cross-over (C) operator. In             glass (« = 1.5), respectively. Two materials with
this step, slices of refractive index genes and layer          refractive indices of 1,465 (SiCfi) and 2.20 (TiCb)
thickness genes arc transferred between random                 have been used. Fig. 3 shows the profile of the
seleeted pairs of filters. For this purpose, pairs of          designed filter which has 20 layers. Figs. 4 and 5
filters are seleeted randomly, then a slice with               represent the percentage of reflectance versus
random length that is smaller than the length of               wavelength and angle of incidence, respectively.
the shorter filter, is defined over the two filters in         The fitness function for this design has been equal
each pair. Finally, the genes in this slice are                to 5.25 for 10 wavelength points and 13,500 gen-
transferred between two filters (Fig, 2(b)). Cross-            erations. The design took approximately 35 min
over, basically, transfers genetic properties be-              on a Pii/700 MHz computer.
tween chromosomes and after applying it we have                   To compare the results from GA with a previ-
                                                               ously designed classic PBS, a wide-band MacNeille
Gc = C{GS}.                                          (3)       PBS which is mentioned in [12], has been consid-
   (3.3) Applying the mutation (M) operator. In                ered. This filter has 22 layers. The angle of inci-
this step, a few filters are chosen randomly and               dence is 45° in prism, two materials with refractive
then their layer refractive indices and thicknesses
are altered. The alteration procedure is to replace
the current refractive index with one from the
predetermined set. Also, the current layer thick-                   2.4
ness is subtracted from a predetermined value to                    2.2
produce a new layer thickness (Fig, 2(c)). Muta-
tion is basically used for escaping from the local
optima.                                                             1,B
GM=M{Gc}.                                            (4)            1.6
   After applying all these operators, a new gen-                   1.4
eration (G*"1"1) is produced (G*"1"1 = A/{C{S{Gt }}})               1.2
and the procedure continues by returning to step 2.
   The above mentioned algorithm is implemented                                              2     3             4         5
thorough a software in C++. Its inputs are: the                                          Thickness (pm)
refractive indices of materials, substrate and inci-
dent medium, the angle of incidence, the maximum                 Fig, 3, Refractive index profile of tlie designed plate PBS,
and minimum allowable layer thicknesses and the
maximum allowable number of layers. Also, the                        100'
desired wavelengths and the corresponding desired
jTs are provided by the user. After completion of                     BO
the design procedure, the structure of the filter is
provided as a file.                                                   60


3. Design results
                                                                                                             —— Rs
    In this section, we provide sample designs of                                                                Up
multilayer PBSs, using the genetic algorithm. The                     1.525 1,53 1.535 1.54 1,545 1,55 1.565 1.56 1.565
first filter is a plate PBS. The target is to design a                                 Wavelength (m)            x 10
C-band plate PBS over 1528-1560 nm wavelength                  Fig. 4. Reflectance vs. the wavelength spectrum of the designed
band. The angle of incidence is 60°, the incidence             plate PBS.
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      100-                                                                    2.2-
                                                                                  2
                                                                              1.8-
  „ 60                                                                        1.6-
                                                                              1.4-
                                                                                                   0.5     1      1.5     2        2.5
                                                                            («)                           ThickncKM tjum)


                Hp
                     20 30 40 SO 60 70 00                                     IB
                      Angle ol Incidence (degrees)
                                                                              1.6
Fig. 5, Reflectance vs. the angle of incidence of the designed
plate PBS at 1550 nra.                                                                                    0.5       10        15         2.0
                                                                                                           Thickness (pntl

indices of 2.2 and 1.45 are is utilized and the re-                    Fig, 7. Index profile of (a) MacNeille and (b) GA-designed
                                                                       PBSs.
fractive index of prisms is 1.7. Figs. 6(a, c) and 7(a)
represent the calculated results and index profile of
this PBS. For GA-designed PBS, it has been con-                           As it is seen, the spectral characteristics of GA-
sidered that angle of incidence is equal to 45° and                    based PBS is considerably better than MacNeille
the refractive indices of materials and prisms are                     one and the total physical thickness of the former
the same as MacNeille one. Figs. 6(b, d) and 7(b)                      is less than the later PBS. Eq. (5), represents
represent calculated results and index profile of                      quality measure (P) for PBSs called degree of po-
this GA-designed PBS.                                                  larization [1]


                              too                                           100
                                                            i
                              80                            \i\
                              60 i                          it '<     ,X 60
                                                             •i i
                              40                              5 i           40
                                  !i
                              20                              5 i           20
                                 •j
                               0 0.4      0.5 0.6 0.7           0.6               0.4      0.5 0.6 0.7            0.8
                        (a)               Wavelength (pm)             (b)                  Wavclcnglh (fim)

                              100                                           100
                                                                                                              n
                              80                                            80
                               so          a^550 nm                   5 60 Nl ^.=550 nm 1                \f
                              40                                      « 40
                              20                                            20
                                                                             n
                                30       40      50    60                     30          40      50     60      70
                                       Angle of Incidence (*)         (d)               Angle of Incidence (')
Fig. 6. Spectral profiles of MacNeille and GA-designed PBSs; (a, b) reflectance vs. wavelength and (e, d) reflectance vs angle of in-
cidence in 550 nm for MacNeille and GA-designed PBSs, respectively (R*: —, ftp; —).
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         R* — Rp                                                    FilmWizard from Scientific Computing Interna-
P=                                                          (5)
         Rk + Rv                                                    tional (SCI) has been utilized in which the men-
                                                                    tioned synthesis methods exist. Table 2 represents
Considering P for comparing the quality of two                      the results obtained from these methods. In all
PBSs for the desired wavelength band. Table 1                       designs, the angle of incidence, refractive indices of
shows some parameters such as obtained wave-                        materials, incidence medium and substrate are the
length band, angular sensitivity, total physical                    same as GA designed filter.
thickness as well as average and standard devia-                        In needle design, initial total thickness, maxi-
tion of P. As it is seen, the GA-designed PBS has                   mum layer numbers and minimum layer thickness
better performance based on the mentioned pa-                       are set to be 6000 nm, 20 and 10 nm, respectively.
rameters. However, it should be noted that be-                      The result for 50 iterations is a 20 layer PBS. This
cause of the random nature of GA, in a                              design took 1 min on the above mentioned com-
predetermined execution time, it is required to                     puter. In flip-flop design, the initial total thickness,
design some PBSs and then select the best one.                      maximum layer numbers and minimum layer
    The third PBS is a cubic one. This PBS has been                 thickness are set to be the same as needle design
designed as a C-band (1528-1560 nm) polarization                    and the mesh size is 10 nm. The result for 25 it-
splitter which has applications in WDM optical                      erations is a 19 layer PBS. This design took 30 s on
communication systems. The angle of incidence is                    the above mentioned computer. The last design is
45° in prism, the refractive indices of incident and                based on the combination of GA and gradient
substrate mediums are 1.5 (BK7 glass) and a                         methods to lower the design time of the basic GA
maximum of 20 layers is allowed. For manufac-                       method. For this purpose, the result of first 200
turing purposes only two materials with refractive                  generations of the GA program, that had 17 layers
indices of 1.465 (SiCF) and 2.065 (TaiOs) have                      and took 2 min, has been optimized with the glo-
been used. The designed filter has 19 layers. The                   bal gradient method. The optimization process
fitness function for this design has been equal to                  had 100 iterations and took 3 min. Figs. 8-11
28.65 for 10 wavelength points and 13,400 gener-                    represent the dependency of spectral characteris-
ations. The design took approximately 25 min on a                   tics of the above PBSs on wavelength and angle of
PII/700 MHz computer. Also for comparing the                        incidence.
designs with GA and other synthesis techniques,                         For considering the effect of manufacturing is-
the third example (C-band cube PBS) has been                        sues on the designed filters, the layer thicknesses of
considered and compared with the results obtained                   each filter has been perturbed 100 times with
from major synthesis techniques such as needle                      random changes of ±5 A. Then, for each pertur-
[21], flip-flop [22] and combined GA and gradient                   bation, the average of P over desired bandwidth
methods. For needle and flip-flop designs, the                      has been compared with the average of P for un-
Table 1
A comparison between some parameters of MacNeille and GA-designed PBSs
                        Angle of        PaVe (%)     A. (%)      Effective                   Angular          Total physical
                        incidence P)                             wavelength band             sensitivity P)   thickness (pm)
                        (in glass)                               (nm) (P > 95%)
  GA-designed PBS       44               96.39       2.438       ~400
                        44.5             98.07       1.346       ~400
                        45               99.06       0.661       ~400                        2                1.8
                        45.5             99.26       0.521       ~400
                        46               98.6        0.938       ~400
     MacNeille PBS           45               98.25         3.447      ~375
                             45.5             97.61         8.074      ~375                  1                2.7
                             46               96.83         7.87       ~375
     'Standard deviation of P over desired wavelength band.
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Table 2
Comparison among various design techniques for a cubic C-band PBS
                  GA                           Needle                             Flip-Hop                  GA +gradient
                     rf<A)          n             rf(A)         n                d (A)          n           d (A)          n
  Structure          A              1,5           A             1.5              A              1.5         A              1.5
                     2237           2.065         3178.2        1.465            13,600         1.465       2096.8         2.065
                     2730           1.465         2364.7        2,065            1500           2,065       2708.3         1.465
                     2207           2,065         4464.7        1,465            3500           1.465       2031.5         2,065
                     2313           1.465         2605.6        2.065            2000           2.065       3154           1.465
                     2144           2,065         4796.1        1,465            4600           1.465       1840.5         2.065
                     2587           1.465         2482.2        2,065            1400           2.065       3322.8         1,465
                     2275           2.065          11997        1.465            2600           1.465       2003           2.065
                     2731           1.465         2361.3        2.065            1500           2.065       3303.9         1.465
                     2343           2.065         4163.6        1.465            6100           1.465       1835.4         2.065
                     3933           1.465         2334.7        2.065            800            2.065       4130.5         1.465
                     2017           2.065         4089.3        1.465            5000           1.465       1706.8         2,065
                     2946           1,465         2417.6        2.065            1900           2.065       3493.8         1.465
                     2322           2.065         3976.4        1.465            2000           1.465       1803.3         2,065
                     2347           1.465         2518          2.065            2700           2.065       3142.9         1.465
                     2177           2.065         4343.4        1.465            2700           1.465       1988           2.065
                     3084           1,465         2864.7        2,065            2000           2.065       2846,5         1.465
                      1625          2,065         3553.6        1.465            3300           1.465       2062.8         2,065
                     3033           1.465         2892.9        2.065            1800           2.065       S              1,5
                     2321           2.055         4285          1.465            600            1.465
                     S              1,5           2392          2,065            S              1.5
                                                  S             1,5
                    4,7372                        7.4081                       5,96                         4.3471
          (tun)      8,2401                       12.367                       9,6674                       7,6104
  Max. (f)           1.0                          1.0                          0.9995                       1.0
  Min. (P)          0.9954                        0.9930                       0.9710                       0.9898
  Mean (P)          0.9986                        0.9980                       0.9927                       0.9968
  Std, (P)          0,0012                        0.0016                       0,0077                       0,0028
  Layer number       19                           20                           19                           17
  Yield {%)          100                          100                          2                            9
  Design time        25 min                       1 min                        1/2 min                      5 min
   A, incident medium; S, substrate; P. degree of polarization; Std., standard deviation.
                                                                              100
perturbed filter. If the absolute change is less than
0.005, the filter is selected and otherwise rejected.
These calculations have been brought in Table 2
under "Yield" item. Considering the results in                                HH i-I
'fable 2 and Figs. 8 11, the best results belong to
GA and needle methods. Although the GA is a                               W) MM
powerful optimization tool and searches for the                           CC
global optimum point, when its search space be-                              99.2
comes very large and complicated, the design lime                                         GA
                                                                                          Need e
increases considerably and in comparison with                                             Flip flop
other methods may bring a drawback to GA. The                                             GA-bGrad ent
design time is highly dependent on the number of
wavelength points, maximum number of layers                                                         Wavelength (m)
and the maximum layer thickness. In simpler de-                         Fig, 8, S-polarization reflectance (/?s) for various design
signs such as antireflection filters, GA is able to                     methods for the C-band cubic PBS.
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                                                                         100
                                               OA
                                               Needle
                                               Flip flop
                                               GA+Gradlent
       2.5

                                                                     v
                                                                          90


                                                                                                             GA
                                                                                                             Needle
                                                                                                             Flip flop
                                                                                                             GA+Gradient
        1.52    1.53       1.54     1.55        1.56                        43   43.5 44 44.5 45 45^ 46 46.5
                        Wavelength (m)                  x 10                          Angle of Incidence (degrees)
Fig. 9. P-polarization reflectance          for various design      Fig. 11. Degree of polarization (P) for C-band cubic PBS ver-
methods for the C-band cubic PBS.                                   sus angle of incidence in prism.


                                                                    trics. First, for evaluating GA to design PBSs, a
                                                                    plate PBS has been designed over a wavelength-
                                                                    band which is suitable for WDM optical commu-
                                                                    nication systems. The plate PBS has 20 layers with
                                                                    wavelength baud of 1528-1560 nm. This design,
                                                                    shows the ability of GA in providing results with
     ^ 97
                                                                    suitable agreements with desired specifications.
                                                                    For comparison with classic designs, a cube PBS
                                                                    has been designed and compared with similar
                                           —- GA
                                               Needle               MacNeille one. Based on the results in Table 1 and
                                           —Flip flop               considering degree of polarization as a measure of
                                           -B- GA+Gradient
                                                                    comparison, the wavelength band, angular sensi-
         1.52    1.53       1.54   1.55    1.56              1.57
                                                              -6    tivity and tbe total physical thickness of the GA-
                            Wavelength (m)             x1q
                                                                    designed PBS are better than the MacNeille one.
Fig. 10. Degree of polarization (F) for C-band cubic PBS vs.        Table 1 represents a summery of some of these
wavelength for various design methods.                              parameters based on P, angle of incidence and
                                                                    spectral band of the two mentioned PBSs, As it is
                                                                    seen, the designed PBS has better spectral profile
produce an optimum design, similar to oilier well-                  as well as less total physical thickness with respect
known melliods, in a few seconds.                                   to MacNeille one. Considering other synthesis
                                                                    techniques, a C-band cube PBS has been designed
                                                                    using GA, needle, flip-flop and combined GA and
4. Conclusions                                                      gradient optimization methods with similar design
                                                                    parameters and targets. As it is seen in Figs. 8-11
   In this paper, the genetic algorithm optimiza-                   and Table 2 and the information in the previous
tion technique has been used to design multilayer                   section, GA and Needle methods have represented
PBSs. For design, only the optimization of reflec-                  the best results. From the reported results and
tances of S and P polarizations over a predeter-                    other designs with the GA, it is observed that for
mined wavelength-band have been considered and                      filters that have complicated profile or do not have
the materials are considered to be perfect dielec-                  a classical or straight method of design, GA is a
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critical parameter. The choice of some design pa-                          Choi. IEEE Photon. Technol. Lett. 9 (1997) 1119.
                                                                       [6] K.W. Cheung. IEEE J. Select. Areas Commun. 8 (1990)
rameters such as layer thickness range, maximum                            1015.
number of layers and wavelength points have di-                        [7] T. Oguchi. A. Sugita. J. Noda. IEEE Photon. Technol.
rect effect on the optimization process. So, the user                      Lett. 2 (1990) 830.
of the GA should take into account the effect of                       [8] L.G. Kazovsky. J. Lightwave Technol. 7 (1989) 279.
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